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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

LEAGUE OF UNITED LATIN                           §
AMERICAN CITIZENS, et al.,                       §
                                                 §
               Plaintiffs,                       §
                                                 §
                                                          EP-21-CV-00259-DCG-JES-JVB
EDDIE BERNICE JOHNSON, et al.,                   §
                                                                  [Lead Case]
                                                 §
               Plaintiff-Intervenors,            §
                                                                           &
v.                                               §
                                                 §
                                                               All Consolidated Cases
GREG ABBOTT, in his official capacity as         §
Governor of the State of Texas, et al.,          §
                                                 §
               Defendants.                       §

                                     NOTICE AND ORDER

        Given that the Texas Legislature will likely redistrict the state house and senate during

the 2023 regular legislative session, the Court is considering holding trial in El Paso in two

phases. During the first phase, we would conduct a trial on the congressional and SBOE maps.

The second phase would cover the state house and senate maps. Despite the ongoing legislative

session, the Court believes that the first-phase trial needs to be completed by the end of May.

That is to allow sufficient time for preparation of findings and conclusions, not to mention any

subsequent appeals, before the first statutory deadlines for the 2024 election cycle are triggered

beginning in the fall of 2023.

        The Court is aware that conducting trial during the regular session poses difficulties,

especially for some witnesses. Nonetheless, the Court requests that counsel, individually or

jointly, indicate your availability during the following eight weeks in 2023. The Court assumes




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that at least two weeks should be reserved for the first phase, including any pretrial conferences

or hearings; trial does not necessarily have to occur on successive weeks:

   1. February: Week of the 27th

   2. March: Weeks of the 13th, 20th, and 27th

   3. April: Week of the 10th (beginning April 11 because April 9 is Easter)

   4. May: Weeks of the 1st, 22nd, and 29th (beginning May 30 because May 29 is Memorial
      Day)

       The Court ORDERS the parties to file a notice stating their availability for the first-phase

trial by December 15, 2022.

       So ORDERED and SIGNED this 5th day of December 2022.




                                                  __________________________________
                                                  DAVID C. GUADERRAMA
                                                  UNITED STATES DISTRICT JUDGE

                                         And on behalf of:

 Jerry E. Smith                                              Jeffrey V. Brown
 United States Circuit Judge                    -and-        United States District Judge
 U.S. Court of Appeals, Fifth Circuit                        Southern District of Texas




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